I write separately merely to note my understanding that negligent entrustment cases are inherently fact-sensitive, and that, in another case, with different facts, a mere verbal admonition not to use an entrusted instrumentality for a specified purpose might not be sufficient to avoid liability. For example, an owner of a gun might not be able to avoid liability if he lends his gun to someone he knows to be in a homicidal rage, just because he tells that person not to shoot anyone.
On the facts in the case before us, I would not hold the Donleys to have been required to do more than inform their son that he was not to have a party in their home while they were away.
Copies mailed to:
Richard Skelton, Esq. Stephen J. Brewer, Esq. William J. Moran, Jr., Esq. Hon. John P. Petzold